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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on November 18, 2022

UNITED STATES OF AMERICA
v.

JACOB BLAIR,

also known as “YVS,”

also known as “Colorshifting,’

also known as “YourVendorsSupplier,”
also known as “YVendorsSupplier,”

CRIMINAL NO.
GRAND JUIRY ORIGINAL

VIOLATIONS:

21 U.S.C. § 846

(Conspiracy to Distribute and Possess
With Intent to Distribute Fentanyl,
Methamphetamine, and Metonitazene)
18 U.S.C. §§ 1956(a)(1)(B)() and 2

Defendant. (Money Laundering)
FORFEITURE:
21 U.S.C. § 853(a), (p); and
18 U.S.C. § 982(a)(1)
INDICTMENT
The Grand Jury charges that:
Introduction

At all times relevant to the indictment:

1. “Virtual currency” or “cryptocurrency” is a form of online payment that uses

cryptography to secure financial transactions. Cryptocurrency transactions may be recorded on a

“blockchain,” which is a cryptographically verified ledger of every transaction that occurs in a

particular currency. Cryptocurrency transactions can be conducted with multiple inputs and

multiple outputs to a single transaction.

Cryptocurrency transactions take place between

“addresses” on a blockchain, and a transfer of funds from a sender to a recipient may be broken
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into multiple transactions that follow different paths to the same destination. One individual may
control multiple “addresses,” sometimes all as part of a single “account” or “wallet.”

2. “Bitcoin,” or BTC, is a common form of cryptocurrency. The BTC blockchain, or
ledger, is publicly available. Users can view the movement of BTC from one “address” to another
on the BTC blockchain. The BTC blockchain identifies the addresses and BTC amounts involved
in transactions but does not identify who owned or controlled a particular address at any particular
time. A BTC “Transaction ID number” uniquely identifies a particular BTC transaction. A BTC
deposit address is a unique identifier that serves as a virtual location to which BTC can be sent.
Most BTC users employ software that creates and manages a “wallet.” The wallet software creates
and controls “addresses” that are used to hold, send, and receive BTC.

3. The passcodes allowing users to access'a bitcoin wallet, and amas the bitcoin
contained within it, may be stored on mobile devices, external or removable media, or computers.
These passcodes can also be represented as long strings of characters, machine readable bar codes
(QR codes), or hidden within other innocuous looking data such as image files. Private keys and
“seed keys” (specialized passphrases that can be used to regenerate private keys), can also be stored
on paper. Again, passwords for access to electronic wallets are typically complex and are often
written down or saved in an accessible manner on paper or on some electronic device.

4. “Monero,” or XMR, is another type of cryptocurrency. Unlike the bitcoin
blockchain, the Monero blockchain is not publicly viewable. As described on the website
getmonero.org, Monero is a “Private, decentralized cryptocurrency that keeps your finances
confidential and secure.” Monero includes a variety of features that help to obscure transactions

true origins and destinations. Due to these enhanced security features, Monero is sometimes
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classified as a “privacy coin.” Monero can be used to conceal and disguise the origins and
destinations of cryptocurrency transactions by exchanging one cryptocurrency for Monero, where
eryptocurrency transactions cannot be readily observed, and then exchanging from Monero back
into another cryptocurrency, such as bitcoin.

5. Tor2Door is a darknet market that operated much like a conventional e-commerce
website: users can browse goods for sale from Tor2Door’s home page, which are organized by
category. These categories included “Fraud,” “Drugs & Chemicals,” “Digital Products,”
“Counterfeit Items,’ “Jewels & Gold,” “Services,” “Software & Hosting,” and “Others.”

Subcategories under “Drugs and Chemicals” included “Benzos,” “Cannabis & Hash,”

“Dissociatives,” “Ecstasy,” “Stimulants,” “Opioids,” “Prescriptions,” “Others,” and
“Psychedelics.”
6. Tor2Door was set up as a “hidden service” or “onion service” on the “dark web”

also known as the “dark net” or the “darknet.” The darknet is a part of the World Wide Web
accessible only through anonymity-enhancing platforms such as the Tor network, a special
network of computers on the Internet designed to conceal users’ true IP addresses. Unlike
computers on the ordinary Internet, whose IP addresses and locations can be determined more
readily, computers on the Tor network cannot be easily located because their IP addresses are
concealed.

7. Tor2Door does not allow transactions to be conducted in official, government-
backed currencies. Instead, it required its users to transact in cryptocurrencies, specifically Bitcoin
and Monero. These cryptocurrencies are not issued by any government, but rather, are generated

and controlled through computer software operating on decentralized peer-to-peer
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networks. Because cryptocurrencies are transferred peer-to-peer, users can often avoid traditional,
regulated financial institutions, which collect information about their customers and maintain anti-
money laundering and fraud programs.

8. The operator(s) of Tor2Door allow vendors to sell products on their site in exchange
for a commission fee. Vendors create their own profile page listing items for sale. Vendors publish
descriptions of their products and operation to attract customers, Darknet markets additionally
display the number of successful transactions and sales in order to give prospective customers
confidence that transactions with a given vendor will proceed without issues.

9, ‘As of August 23, 2022, according to the Tor2Door “FAQ,” the operators of
-Tor2Door charge a 5% “sales commission” for all goods sold on the website. This same page
indicates that in order to become a vendor on Tor2Door, a prospective vendor must pay a “vendor
bond” of $500 USD. This vendor bond grants a seller the ability to market their services or products
on the website. Previously, in February of 2022, the “vendor bond” had been $300 USD according
to the FAQ.

10. In addition to taking a commission fee or “cut” of the proceeds of each sale made
by a vendor on Tor2Door, the operator(s) of Tor2Door also set forth a series of rules regarding
what items were not permitted to be sold on the market. As of August 23, 2022, per the FAQ, the
following products/services are prohibited on Tor2Door: “Child porn, Prostitution, Weapons,
Murder services, terrorism, poison, fentany!.”

11. To access Tor2Door, users ate required to create an account by completing fields
on a registration page, including “Display Name,” “Personal Phrase,” “Username,” “Password,”

“Confirm Password,” “PIN,” “Confirm PIN,” ‘and complete a “CAPTCHA,”
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photo identification challenge.
The Defendant

12. At all times relevant to this indictment, Jacob Blair was a resident of:the States of
Pennsylvania and West Virginia.

13. At all times relevant to this indictment, Jacob Blair, and others both known and
unknown to the Grand Jury, operated vendor accounts on various darknet marketplaces, including
Tor2Door.

14. Jacob Blair, and others both known and unknown to the Grand Jury, operated under
the moniker “YVS”, and “YVendorSupplicr” on Tor2Door and created a vendor account and
profile to advertise their controlled substances for sale.

15. The YVS vendor profile, operated by Jacob Blair and others both known and
unknown to the Grand Jury, indicates that the vendor profile or account has been active on the
Tor2Door market since at least May 2022 and, in that time, had completed at least 459 sales of
illegal narcotics. YVS advertised themselves on Tor2Door as “a syndicate of professionals that
specialize in making the best products the markets have to offer. We focus on quality, consistency,
stealth, and speed. Nothing but the best... now vending on 5 markets, time will show that we
mean business, and we’re here to stay.” YVS listed a variety of drugs for sale on their Tor2Door
Market vendor account, to include several varieties of counterfeit oxycodone pills, counterfeit
Adderall pills, and counterfeit Xanax pills. Counterfeit oxycodone pills contained Fentanyl and
the counterfeit Adderall pills contained Methamphetamine.

16. YVS additionally advertised its products on the Alphabay, Nemesis, and ASAP

DarkNet marketplaces. During this time, YVS completed at least 534 successful drug sales through
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the ASAP Market and 406 successful drug sales through the Nemesis Market.
Purpose of the Conspiracy

17. The purpose of the conspiracy was to distribute counterfeit controlled substances
for profit by selling a variety of controlled substances on the dark web and shipping them
throughout the United States, including the District of Columbia.

Manner and Means

18. Jacob Blair, and others both known and unknown to the Grand Jury, manufactured
and obtained counterfeit Oxycodone, Adderall and Xanax pills for sale.

19. Jacob Blair, and others both known and unknown to the Grand Jury, posted these
controlled substances on Tor2Door and other marketplaces for sale. Jacob Blair, and others both
known and unknown to the Grand Jury, received orders for controlled substances and received
payment in the form of Bitcoin or Monero on Tor2Door and other marketplaces. After the payment
was confirmed, Jacob Blair, and others both known and unknown to the Grand Jury would pack
the controlled substances in vacuum-sealed packaging, packaging materials, and padded shipping
envelopes to disguise the substance and drop the packages in various United States Postal Service
drop boxes in West Virginia and Pennsylvania for shipment throughout the United States,
including the District of Columbia.

20. Jacob Blair, and others both known and unknown to the Grand Jury, would
occasionally communicate with customers through encrypted communications platforms such as
Wickr and Threema.

21. Throughout the course of the conspiracy, Jacob Blair and others both known and

unknown to the Grand Jury shipped counterfeit Oxycodone pills to the District of Columbia on at
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least six occasions. These pills contained Fentanyl, a schedule II narcotic controlled substance and
Metonitazene, a schedule I narcotic controlled substance.

22. Throughout the course of the conspiracy, Jacob Blair and others both known and
unknown to the Grand Jury shipped counterfeit Xanax pills to the District of Columbia on at least
two occasions.

23. Throughout the course of the conspiracy, Jacob Blair and others both known and
unknown to the Grand Jury shipped counterfeit Adderall pills to the District of Columbia on at
least three occasions. These pills contained Methamphetamine, a schedule II narcotic controlled
substance.

24. Throughout the course of the conspiracy, Jacob Blair and others both known and
unknown to the Grand Jury received payment for sales of controlled substances in the form of
Bitcoin and Monero. Jacob Blair and others both known and unknown to the Grand Jury sent these
proceeds between multiple cryptocurrency wallets and to various cryptocurrency exchange
services in order to conceal and disguise the illicit source of the saymnents and exchange the ilficit
proceeds for US currency.

COUNT ONE -
(Conspiracy to Distribute and Possess with the Intent to Distribute Controlled Substances
21 U.S.C. §§ 846, 841(b)(1)(B) and, (b)(1)(C))
25. The introductory allegations set forth in paragraphs 1 through 24 are re-alleged and

incorporated by reference as though set forth herein.
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The Conspiracy
26. From at least as early as August 1, 2022 through at least February 16, 2023, in the

District of Columbia and elsewhere, the defendant,

JACOB BLAIR,
Also known as “YVS,”
Also known as “Colorshifting,”
Also known as “YourVendorsSupplier,”
Also known as “YVendorsSupplier,”

did knowingly and willfully combine, conspire, confederate, and agree together and with other
persons both known and unknown to the Grand Jury, to unlawfully, knowingly and intentionally
distribute and possess with intent to distribute forty grams or more of a mixture and substance
containing a detectable amount of N-phenyl-N-[1-(2-phenyllethyl)-4-piperidninyl] propanamide
(Fentanyl), a Schedule II narcotic drug controlled substance, and fifty grams or more of a mixture
and substance containing a detectable amount of methamphetamine, a Schedule II narcotic
controlled substance, and a mixture and substance containing a detectable amount of N,N-diethy]-
2-(2-(4- methoxybenzyl)-5-nitro-1 Hbenzimidazol-1-yl)ethan- 1-amine (Metonitazene), a Schedule
I narcotic drug controlled substance, in violation of Title 21, United States Code, Sections 846,
841(b)(1)(B) and 841(b)(1)(C).

(Conspiracy to Distribute and Possess With Intent to Distribute Fentanyl,

Methamphetamine, and Metonitazene, in violation of Title 21, United States Code,

Section 846)

COUNT TWO

Beginning in or around August 1, 2022 and continuing through at least February 16, 2023,

in the District of Columbia and elsewhere, defendant JACOB BLAIR, also known as “YVS,”

also known as “Colorshifting,” also known as “YourVendorsSupplier,” also known as

“VendorsSupplier,” did knowingly conduct and attempt to conduct a financial transaction
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affecting interstate and foreign commerce, to wit, conducting cryptocurrency transactions through
various Bitcoin wallets, Kraken accounts, and BitPay accounts, which involved the proceeds of a
specified unlawful activity, that is drug trafficking, knowing that the transaction was designed in
whole and in part to conceal and disguise, the nature, location, source, ownership, and control of
the proceeds of said specified unlawful activity and that while conducting and attempting to
conduct such financial transaction knew that the property involved in the financial transaction
represented the proceeds of some form of unlawful activity.

(Money Laundering, in violation of Title 18, United States Code, Sections
1956(a)(1)(B)(i) and 2)

FORFEITURE ALLEGATION

lg. Upon conviction of the offenses alleged in Count One, the defendant shall forfeit
to the United States, pursuant to Title 21, United States Code, Section 853(a), any property
constituting, or derived from, any proceeds obtained, directly or indirectly as the result of these
offenses; and any property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of this offense. The United States will also seek forfeiture money
judgment against the defendant equal to the value of any property constituting, or derived from,
any proceeds obtained, directly or indirectly, as the result of these offenses and any property used,
or intended to be used, in any manner or part, to commit, or to facilitate the commission of these
offenses.

2. Upon conviction of the offenses alleged in Count Two, the defendant shall forfeit
to the United States, pursuant to Title 18, United States Code, Section 982(a)(1), any property, real
or personal, involved in such offense, or any property traceable to such property.

3. If any of the property described above as being subject to forfeiture, as a result of

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any act or omission of the defendant:

(a)
(b)
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(d)

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cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;
has been placed beyond the jurisdiction of the Court;

has been substantially diminished in value; or

has been commingled with other property that cannot be divided without difficulty,

the defendant shall forfeit to the United States any other property of the defendant, up to the value

of the property described above, pursuant to Title 21, United States Code, Section 853(p).

(Criminal Forfeiture, pursuant to Title 21, United States Code, Sections 853(a), (p) and
Title 18, United States Code, Section 982(a)(1))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.

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